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Sn the Gnited States Court of Federal Claims

No. 08-664C
Filed: May 14, 2010

Contract: Grazing permits approved and
administered by the Department of the
Interior’s Bureau of Indian Affairs do
not constitute contracts with the United
States where the individual Indian
landowners are charged with the
responsibility for issuing the permits.
Res Judicata: The doctrine of res judi-
cata extends to the decisions of admin-
istrative agencies where the agency is
acting in an adjudicative capacity and
the parties have been given a full and
fair opportunity to litigate their claims.
Illegal Exaction: Where the government
collects money pursuant to an erroneous
construction of a regulation, a claim for
the return of that sum is cognizable as a
claim within the express jurisdiction of
this court. Transfer of Claims: A claim
cannot be transferred to another court
pursuant to 28 U.S.C. § 1631 if the
claim could not be filed in that court in
the first instance.

TODD O’BRYAN,
Plaintiff,
v.
THE UNITED STATES,

Defendant.

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Terry L. Pechota, Pechota Law Office, Rapid City, SD, counsel for plaintiff.

Jeffrey D. Klingman, with whom were Assistant Attorney General Tony
West, Director Jeanne E. Davidson, and Assistant Director Deborah A. Bynum, U.S.
Department of Justice, Civil Division, Commercial Litigation Branch, Washington,
DC, counsel for defendant. Carrie Prokop, U.S. Department of the Interior, Fort
Snelling, MN, of counsel.

OPINION
WIESE, Judge.

Plaintiff, a member of the Oglala Sioux Indian Tribe, sues here to recover
damages for injuries allegedly caused by the United States Department of the
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Interior’s Bureau of Indian Affairs (“BIA”) in its administration of grazing permits
granted to plaintiff on the Pine Ridge Indian Reservation in Shannon County, South
Dakota. Plaintiff alleges that the BIA (1) unlawfully cancelled plaintiff’s grazing
permits on lands that the United States holds in trust and manages for the benefit of
the Oglala Sioux Tribe; (2) impermissibly collected a rental payment for a period
during which plaintiff was denied access to the permitted grazing lands; and (3)
improperly assessed penalties for the overstocking of cattle on those lands.

Defendant has moved to dismiss the complaint for lack of jurisdiction and for
failure to state a claim upon which relief can be granted. The parties have fully
briefed the issues and the court heard oral argument on August 19, 2009.’ For the
reasons set forth below, defendant’s motion to dismiss is granted in part and denied
in part.

FACTS
A.

Pursuant to 25 U.S.C. § 3711(a) (2006), the Secretary of the Interior is
directed to provide for the management of Indian agricultural lands to achieve a
number of specified objectives, including assisting Indian landowners “in leasing
their agricultural lands for a reasonable annual return, consistent with prudent
management and conservation practices, and community goals as expressed in the
tribal management plans and appropriate tribal ordinances.” 25 U.S.C. § 3711(a)(6).
Consistent with this authority, the Department of the Interior has promulgated general
grazing regulations, set forth at 25 C.F.R. §§ 166.1-166.1001, which identify “the
authorities, policies, and procedures the BIA uses to approve, grant, and administer
a permit for grazing on tribal land, individually-owned Indian land, or government
land.” 25 C.F.R. § 166.1(a) (2009). Under the grazing regulations, Indian
landowners are primarily responsible for granting permits on their individually
owned land, although the regulations require that the BIA “approve all permits of
tribal land in order for the permit to be valid.” 25 C.F.R. § 166.217(b). The BIA in
turn administers these permits including, in many cases, the collection of rent,
25 CFR. §§ 166.413, 166.422, and the handling of permit violations,
25 C.F.R. §§ 166.700—166.709.

 

" Following oral argument, the court requested supplementary material which
plaintiff filed on November 13 and December 1, 2009. At the parties’ request, the
court then informally suspended proceedings to allow the parties to pursue
settlement. On March 10, 2010, the parties notified the court of their failure to reach
settlement and the court accordingly lifted the informal stay of proceedings on that
date.
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When a permittee violates the terms of a permit, the regulations allow the
BIA to cancel the permit in its entirety, acting in consultation with the Indian
landowners as appropriate. Id. A decision to cancel a permit generally becomes
effective 30 days after the permittee receives written notice of the cancellation,
25 C.F.R. §166.707, and is subject to appeal before the Interior Board of Indian
Appeals (“IBIA”), 25 C.F.R. §§ 2.3, 2.4(e), 166.3. The IBIA’s decision becomes
final upon the date of issuance and is treated as “final agency action” for purposes of
judicial review under the Administrative Procedure Act (“APA”), 5 U.S.C. § 704.
43 C.F.R. §§ 4.21(c), 4.314(a) (2009). During the pendency of any appeal, however,
the permittee must continue to pay rent and comply with the other terms of the
permit. 25 C.F.R. § 166.707.

B.

On January 8, 2001, the BIA granted plaintiff grazing permits for range units
6, 9, and 719 within the Pine Ridge Reservation, authorizing plaintiff “to hold and
graze livestock on the Trust Indian and Government-owned lands” for the period
November 1, 2000, through October 31, 2005. Pursuant to these permits, plaintiff
was entitled to graze 165 head of cattle on range unit 6, 168 head of cattle on range
unit 9, and 160 head of cattle on range unit 719, in exchange for annual rental
payments to be paid on November | of each year. The permits additionally specified
that “only livestock bearing the brands and marks shown” on the permits could be
grazed on the permitted land.

By their terms, the permits could not “be assigned or sublet without the
written consent of the parties thereto and the surety, pursuant to the regulations.” In
addition, the permits were revocable “in whole or in part pursuant to
25 C.F.R. 166.15,” and specified that “any part of the area covered by this permit
may be excluded from this range unit by the Superintendent in the exercise of his
discretion.”

The permits required plaintiff to abide by all applicable provisions of the
tribe’s grazing ordinance, Oglala Sioux Tribal Ordinance No. 95-05. Additionally,
the permits specified that as long as the lands covered by the permits continued to be

 

* 25 C.F.R. § 166.15 was the predecessor provision to several sections of the
current grazing regulations, including 25 C.F.R. §§ 166.227, 166.228, 166.229(a),
and 166.705, all of which became effective on March 23, 2001, with the BIA’s
revision of the grazing regulations. As explained in the summary of the final rule,
the revisions were “meant to further fulfill the Secretary’s fiduciary responsibility to
federally-recognized tribes and individual Indians,” and to “further standardize the
process and forms utilized in granting permits on Indian lands.” 66 Fed. Reg. 7068
(Jan. 22, 2001).
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in trust or restricted status, “all of the permittee’s obligations under the permit . . . are
to the United States as well as to the owner of the land.” Finally, certain range
control stipulations were attached to and incorporated into the permits, which
included the following provision:

[I]f the number of livestock authorized is exceeded, the permittee
shall be liable to pay as liquidated damages, in addition to the regular
fees for the full grazing season as provided in the permit, a sum equal
to 50 percent thereof for such excess livestock and such livestock
shall be promptly removed from the unit.

C.

According to his complaint, plaintiff began to encounter difficulties with the
permitted grazing lands almost immediately upon receiving his permits. Plaintiff
reports that as early as July 2001, for example, he experienced water problems on
range units 6 and 9, specifically an insufficient water supply and the loss of cattle as
aresult of “bad” water. In addition, plaintiff alleges that James Glade, Chief of Land
Operations for the BIA’s Pine Ridge Agency, mounted what was in effect an illegal
campaign to remove plaintiff's cattle from range unit 719 in favor of allocating the
land to Mr. Glade’s brother. Plaintiff cites these circumstances as the context for the
events that followed.

On April 16, 2002, plaintiff met with the Oglala Sioux Tribe’s Allocation
Committee—the body responsible for allocating grazing privileges on behalf of the
tribe—to discuss the water problems on range units 6 and 9 and plaintiffs proposed
solution of converting his permits to seasonal use (i.e., grazing a higher number of
cattle for a shorter period of time to take advantage of the higher water quality from
April through July). Plaintiff reports that the Allocation Committee offered no
objection to his proposal. Additionally, plaintiff contends that he made numerous
oral requests to the BIA from October 2002 until July 2003 to convert his permits for
range units 6 and 9 to seasonal use to ameliorate the water problems on those parcels.
There is no indication in the record, however, that such requests were ever granted.

On April 23, 2003, approximately one year after his meeting with the
Allocation Committee, plaintiff approached Mr. Glade to repeat his request that his
permits be converted to seasonal use. Although Mr. Glade advised plaintiff that he
did not have time then to discuss the matter, plaintiff informed Mr. Glade that he
nevertheless intended to graze yearlings on range units 6 and 9 and to remove them
by the middle of July. The following day, in an apparently unrelated action, the
Allocation Committee voted to allocate range unit 719 to two other tribe members,
including Cliff Glade, Mr. Glade’s brother.
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Despite plaintiffs efforts to convert his permits to seasonal use, plaintiff
received a May 28, 2003, letter from the BIA informing him that he had violated the
terms of his permits by overstocking range units 6 and 9 by 770 head of yearlings and
by grazing brands of cattle not identified in his permits. The letter indicated that
because of recent drought conditions, such overstocking threatened “immediate,
significant and irreparable harm to the Indian rangeland.” The BIA thus ordered
plaintiff to remove the excess livestock within three days and further advised that any
failure to abide by the specified use in the permits could result in the cancellation of
the permits if not cured within ten days of the receipt of the letter.

On June 16, 2003, plaintiff met with the Oglala Sioux Tribe’s Land
Committee. At the meeting, Mr. Glade acknowledged that plaintiff had informed
him of plaintiffs intention to graze yearlings from April until mid-July. Plaintiff
contends that at no time was he informed that there would be a problem with such
seasonal use. In addition, the Land Committee approved a motion on June 17, 2003,
requesting that the BIA stop all action against plaintiff until the issue could be
resolved “in a positive way.”

Plaintiff responded in writing to the BIA’s May 28 letter on June 22, 2003.
Although plaintiff acknowledged the presence of additional cattle on range units 6
and 9, he maintained that he was not in fact overgrazing the land because his use of
the range units was seasonal rather than continuous and the yearlings would
accordingly be removed in July and August. Plaintiff once again requested, however,
that the BIA convert his annual grazing permits to seasonal use. Plaintiff additionally
noted that the brands of cattle on range units 6 and 9, although not identified in the
corresponding permits, had nevertheless been approved for use on range unit 719,
leading plaintiff to conclude that the brands were also authorized to graze on range
units 6 and 9.

In a July 10, 2003, response to plaintiff's letter, the BIA informed plaintiff
that it was cancelling his permits for range units 6 and 9 and assessing $55,504.50
im liquidated damages against him. As the predicate for its decision, the BIA
identified plaintiff’ s overstocking of range units 6 and 9, plaintiff's failure to cure the
overstocking violations, and plaintiff's grazing of brands of cattle not identified in
the permits. The BIA additionally advised plaintiff that he could appeal the decision
to the Regional Director of the BIA’s Great Plains Office pursuant to 25 C.F.R. pt. 2.

In response, plaintiff removed 1,200 yearlings from range units 6 and 9 but
appealed the BIA’s decision to the Regional Director. While his appeal was pending,
plaintiff made two attempts—in September and October 2003—to pay the rent due
on range units 6 and 9 for the 2004 grazing season but was told by the BIA that he
was not authorized to use those range units because the BIA had cancelled his
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permits.’ Plaintiff claims that he was consequently forced to sell the 800 yearlings
slated for range units 6 and 9 for a total loss of $300,000.

By letter dated December 8, 2003, the Regional Director informed plaintiff
that she was sustaining the BIA’s decision to cancel his permits, increasing the
liquidated damages assessed against him to $94,928.04, and directing the BIA to
impose an additional $35,017.50 in penalties for plaintiff's “grazing livestock
without a pasture authorization.” Plaintiff appealed the Regional Director’s decision
to the IBIA pursuant to 43 C.F.R. § 4.330. In his appeal, plaintiff argued that the
livestock counts were both unreliable and influenced by employee bias, that the
overstocking limitations were not part of his grazing permits, that the BIA should
have converted his permits to seasonal use, and that the damages and penalties
imposed were improper and incorrectly calculated.

In April 2004, while his appeal to the IBIA was pending, plaintiff renewed
his request to the BIA to use range units 6 and 9, this time for the 2005 grazing
season. Although the BIA had denied plaintiff’s identical application the previous
year, the BIA approved plaintiff's use of the range units for 2005. Rather than apply
plaintiff's $38,003 rental payment to the 2005 grazing season as plaintiff intended,
however, the BIA instead applied the payment to the 2004 grazing season and
conditioned plaintiff's use of the land in 2005 on a second payment of the same
amount. Plaintiff thus maintains that he was erroneously required to pay the annual
rental fees twice—once for 2004 when he was not allowed to graze on units 6 and 9
and a second time for 2005 when his access to the permitted land was restored.

In a decision issued on July 11, 2005, the IBIA sustained the Regional
Director’s decision to cancel plaintiff's permits for range units 6 and 9. The IBIA
rejected plaintiffs argument that employee bias had influenced the findings regarding
his permit violations or had affected the decisions of either the Superintendent of the
Pine Ridge Agency or the Regional Director to cancel his permits. The IBIA
additionally found that the overstocking violation was alone sufficient to warrant the
cancellation of plaintiffs permits. Despite this finding of liability, however, the
IBIA vacated the assessment of $94,928.04 in liquidated damages, reversed the
imposition of $35,017.50 in additional penalties, and remanded the matter to the
Regional Director for a determination of the actual damages, if any, caused by

 

* The facts as stated are drawn from plaintiffs complaint and from a

supplementary filing submitted at the court’s request explaining in greater detail the
circumstances related to the 2004 grazing-fee issue. As part of the parties’ settlement
discussions, defendant was given the opportunity to verify plaintiffs account of the
facts regarding the 2004 grazing fees. Defendant has not presented any evidence to
suggest that the facts as stated are not accurate.

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plaintiff's overstocking. O’Bryan v. Acting Great Plains Regional Director, 41 IBIA
119, 132 (2005).

Following the IBIA’s decision, plaintiff requested an extension of time until
August 11, 2005, to remove his cattle from range units 6 and 9, but received no
response from the BIA. According to the complaint, “[t]he police were sent out” and
plaintiff was “given 3 days to remove his cattle from the land requiring him to put
700 head of cattle in a feedlot and incur a $70,000 loss on the cattle.”

On February 7, 2006, the Regional Director issued a decision on remand
reducing the liquidated damages to $23,732.01. Plaintiff again appealed to the IBIA.
Ina November 13, 2008, order, the IBIA reiterated its 2005 holding that plaintiff “is
liable for his overstocking violations,” but vacated the Regional Director’s
assessment of recalculated liquidated damages and remanded the case once again for
a calculation of the actual damages, if any, attributable to plaintiff's overstocking.
O’Bryan v. Great Plains Regional Director, 48 IBIA 109, 111 n.4 (2008). To date,
the Regional Director has issued no decision on remand.

On September 22, 2008, plaintiff filed suit in this court, identifying eight
grounds for relief.* In essence, plaintiff objects to the cancellation of his grazing

 

* In the first count of his complaint, plaintiff contends that he was deprived
of express and implied contract rights to range unit 719 by certain actions of Mr.
Glade, resulting in the reallocation of that range unit to Mr. Glade’s brother and
nephew. In the second and third counts, plaintiff asserts that his express and implied
contract rights were similarly violated by the cancellation of his permits for range
units 6 and 9 and by his exclusion from those range units during the 2004 grazing
season. In the fourth count, plaintiff argues that the BIA’s application of plaintiff's
rental payment to the 2004 grazing season represented a taking of plaintiff’s property
under the Fifth Amendment to the United States Constitution. In the fifth count,
plaintiff alleges that he was denied full use and enjoyment of range units 6 and 9 for
the 2005 grazing season because of certain actions of Mr. Glade that were in
contravention of various ethical guidelines and in violation of the Constitution’s Due
Process and Equal Protection Clauses. In the sixth count, plaintiff claims that his
individually owned land located within range unit 9 has been overgrazed and
permanently damaged in violation of the United States’ trust responsibilities to
maintain the land. In the seventh count, plaintiff argues that the penalties and interest
that were assessed against him by the Regional Director are arbitrary and capricious.
In the eighth and final count, plaintiff seeks attorney’s fees under the Equal Access
to Justice Act, 28 U.S.C. § 2412(b). In later briefing, however, plaintiff acknowl-
edged that the due process and equal protection claims set forth in count five do not
involve rights that are enforceable by a money judgment and therefore are not

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permits for range units 6, 9, and 719, the BIA’s collection ofa rental payment for the
2004 grazing season, and the BIA’s imposition of penalties for plaintiff's permit
violations, based on various theories of contract, taking, breach of trust obligations
by the government, and illegal actions by a government employee. Plaintiff seeks
$550,000 in damages for his alleged injuries.

DISCUSSION

Central to plaintiffs claim for damages is the contention that his grazing
permits constitute contracts with the United States whose breach may be redressed
in this court. Part of this assertion is undisputed: defendant acknowledges that the
permits exhibit sufficient indicia of a property interest—they may, for example, be
assigned or mortgaged—to support their classification as promissory undertakings
establishing a right to the use of the land, i.e., as contracts. What defendant does not
accept, however, is that the permits are contracts with the United States. Rather,
defendant maintains that the permits are contracts between plaintiff and the
individual Indian landowners. We agree with defendant.

Both the grazing regulations and the grazing permits are issued under the
authority of several statutes including, most recently, the American Indian
Agricultural Resource Management Act (“AIARMA”), 25 U.S.C. §§ 3701-3746.
Among the stated purposes of AIARMA are the furtherance of the historically
recognized trust responsibilities of the United States for Indian-owned lands and the
promotion of Indian self-determination through the strengthening of tribal authority
over the management of those lands. 25 U.S.C. §§ 3702, 3712, 3715. To implement
these goals, the grazing regulations contemplate that the permitting of Indian
agricultural land (a term that refers both to farmland and to rangeland,
25 C.F.R. § 166.4) will be carried out by the BIA pursuant to “an appropriate tribal
resolution establishing a general policy for permitting of Indian agricultural lands,”
25 C.F.R. § 166.100, and will be subject to “tribal laws regulating activities on Indian
agricultural land, including tribal laws relating to land use,” 25 C.F.R. § 166.103.

Consistent with these policies, the grazing regulations provide for significant
control and involvement by the tribe and the individual landowners in the manage-
ment of Indian lands. In particular, the grazing regulations (1) require that the BIA

 

‘(...continued)
redressable in this court. See, e.g., Mullenberg v. United States, 857 F.2d 770, 773
(Fed. Cir. 1988) (holding that “it is firmly settled that [the Due Process and Equal
Protection Clauses] do not obligate the United States to pay money damages”). By
motion dated December 1, 2009, plaintiff additionally withdrew count six (involving
the alleged overgrazing of his individually owned land) as insufficiently developed.

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consult with Indian landowners in the establishment of range units,
25 C.F.R. § 166.302; (2) provide that “the class of livestock and livestock ownership
requirements for livestock that may be grazed on range units” will be made by tribal
determination, 25 C.F.R. § 166.309; and (3) establish that Indian landowners may
negotiate permits and advertise for bids, 25 C.F.R. § 166.220. In addition, the
grazing regulations direct that grazing rental payments are to be made “directly to the
Indian landowners or to [the BIA] on behalf of the Indian landowners,”
25 C.F.R. § 166.413, and instruct that the Indian landowners are the ones “primarily
responsible for granting permits on their Indian land, with the assistance and approval
of the BIA,” 25 C.F.R. § 166.216.

Given this framework and its affirmation of the authority vested in the tribes
and in the individual Indian landowners in the management of Indian agricultural
lands, we conclude that defendant is correct in its assertion that the permits are
contracts with the Indian landowners and not with the United States. Because the
authority for the issuance of the permits rests in the first instance with the Indian
landowners, the permits are properly regarded as contracts with the landowners.

Plaintiff objects to this conclusion, arguing that the United States was in fact
a contracting party in the formation of the permits. In support of this point, plaintiff
observes that the permits were signed by the Superintendent of the Pine Ridge Indian
Reservation (a BIA official) rather than by the individual Indian landowners and that
by the terms of the permits “‘all of the permittee’s obligations under the permit and
the obligation of his sureties are to the United States as well as to the owner of the
land.” Contrary to plaintiff's assertion, however, these facts do not demonstrate that
the United States is a contracting party. As previously noted, both AIARMA and the
grazing regulations are grounded on the trust responsibilities of the United States for
the management of Indian land and resources. The United States therefore cannot be
understood as acting for its own account in approving and administering the grazing
permits, but must instead be seen as acting in its role as trustee for the Indians. And
in that capacity, the United States neither intends nor creates a contract right in a
permittee’s favor. See United States v. Algoma Lumber Co., 305 U.S. 415, 422
(1939). Further, the language of the permits is consistent with the proper discharge
of the United States’ role as protector of the Indians; no promissory commitment to
plaintiff may be associated with the discharge of that role.

Plaintiff additionally argues that the interests of the United States under the
permits are sufficiently aligned with the interests of the Indian landowners as to
warrant treating the two as contractually the same. By this reasoning, plaintiff would
transmute a contract with the landowners into one with the United States. Plaintiff
offers no legal support for this argument, however, and we are compelled to reject
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it: the United States cannot be substituted as a party to a contract to which it never
agreed.”

Yet, even if we were to accept the proposition that the grazing permits
constitute contracts with the United States, such a determination would not lead to
a ruling in plaintiff's favor. Indeed, plaintiff would still face an insurmountable
hurdle: the preclusive effect of the IBIA’s decision upholding the cancellation of
plaintiff's permits. In its decision, the IBIA determined, on the basis of undisputed
facts, that plaintiff “was in violation of his permit when he grazed cattle bearing a
brand not authorized under the permit” and when he failed “to obtain a permit
modification before adding livestock to [range units] 6 and 9.” O’Bryan, 41 IBIA at
126. Based on these findings, the IBIA upheld the Regional Director’s cancellation
of plaintiffs permits.

Despite the IBIA’s conclusion on this point, plaintiff essentially seeks to
relitigate the issue, this time under a breach of contract theory. Under the doctrine
of res judicata, however, a party may not relitigate an issue that was raised or could
have been raised in a previous action that resulted in a final judgment on the merits.
Federated Dep’t Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981); Restatement
(Second) of Judgments §19 (1982). This doctrine extends to decisions of administra-
tive agencies acting in an adjudicative capacity: “When an administrative agency is
acting in a judicial capacity and resolved disputed issues of fact properly before it
which the parties have had an adequate opportunity to litigate, the courts have not
hesitated to apply res judicata to enforce repose.” United States v. Utah Constr. &
Mining Co., 384 U.S. 394, 422 (1966). Plaintiff was given a full and fair opportunity
to contest the cancellation of his grazing permits before the IBIA and is thus
precluded from seeking to relitigate the same set of operative facts here.°®

 

° Plaintiff additionally alleges that Mr. Glade agreed to plaintiff's seasonal
use of the permitted grazing lands, thereby creating an implied contract authorizing
the very use for which the permits were later revoked. Because we conclude that the
permits are not contracts with the United States, however, we consequently find that
an alleged modification of those permits through an implied contract would not affect
contract interests of the United States.

° The fact that the IBIA could not have provided monetary relief (in contrast
to a contract action in this court) does not detract from the finality of its decision.
What matters for the purposes of res judicata is that plaintiff was afforded a full and
fair opportunity to be heard in the prior proceeding, including the right to challenge
any opposing evidence. Restatement (Second) of Judgments § 83(2)(b) (1982). Nor
do we believe that the fairness of the proceedings before the IBIA was affected by the

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In addition to his contract-based theories, plaintiff makes various claims
based on the alleged misconduct of Mr. Glade. In particular, plaintiff contends that
Mr. Glade was instrumental in securing the cancellation of plaintiff's permit for
range unit 719 through “a concerted and open campaign to smear [plaintiff’s] good
name.” Plaintiff further contends that Mr. Glade was actively involved in bringing
about the cancellation of his permits for range units 6 and 9 by thwarting plaintiffs
efforts to obtain the formal modifications necessary to convert the permits to
authorized seasonal use. Plaintiff describes Mr. Glade’s actions as involving a
“blatant conflict of interest” and contends that they were “contrary to the rules and
regulations of the Department of Interior, including applicable [Office of Personnel
Management] ethical guidelines.” Finally, plaintiff maintains that Mr. Glade violated
the fiduciary obligations that the United States as trustee of the Indian grazing lands
owes to the owners of those lands.

The injuries plaintiff attributes to Mr. Glade would be actionable, if at all, as
torts—a category of claim over which this court has no jurisdiction.
28 U.S.C. § 1491(a)(1) (limiting the claims that may be heard in this court to cases
“not sounding in tort”); Brown v. United States, 105 F.3d 621, 623 (Fed. Cir.
1997) (observing that the Court of Federal Claims “is a court of limited jurisdiction”
that “lacks jurisdiction over tort actions against the United States”). Moreover, even
if plaintiff is correct that Mr. Glade’s conduct violated his duties as a trust officer
charged with the proper administration of trust lands, those duties are owed to the
Indian landowners and not to plaintiff as a permittee. For these reasons, plaintiff's
charges of administrative malfeasance must be dismissed.

Plaintiffs claim for the return of his 2004 rental payment, by contrast, is
redressable in this court and must, on the facts presented here, be determined in his
favor. As discussed above, plaintiff approached the BIA twice in the fall of 2003
about continuing his use of range units 6 and 9 in 2004 pending the outcome of the
appeal of his permit cancellations but was informed on each occasion that he would
not be permitted to do so. Notwithstanding the BIA’s position, plaintiff received
notice from the Superintendent of the Pine Ridge Agency on May 21, 2004, advising
him that the cancellation decision was stayed pending the outcome of the appeal and

 

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fact that plaintiff's appeal was decided on the basis of affidavits rather than live
testimony. Plaintiff does not explain how this approach hindered the effective
presentation of his case and given that the IBIA based its decision on undisputed
facts, we can attribute no significance to this choice of procedure. See, e.g., EZ
Loader Boat Trailers, Inc. v. Cox Trailers, Inc., 746 F.2d 375, 378 (7th Cir. 1984)
(according preclusive effect to a decision based partially on deposition testimony
where the plaintiff failed to show “how its case was affected in any way by [such]
testimony . . . much less how it was disadvantaged by that method”).

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that plaintiff remained liable for the rental fees for those range units. Plaintiff
protested the imposition of these fees, arguing that he would be unable to make
beneficial use of the land so late in the grazing season, but the BIA nevertheless
insisted that plaintiff pay both the 2004 and 2005 grazing fees before resuming his
use of the permitted lands. Plaintiff now seeks the return of his 2004 grazing fees on
range units 6 and 9 under the theory that the BIA acted unlawfully in demanding
payment for range lands whose use the BIA had initially denied him. We agree with
plaintiff.

The grazing regulations provide that a decision to cancel a permit “will
remain ineffective [i.e., be suspended] if the permittee files an appeal under . . . this
subpart” and direct that “[w]hile a cancellation decision is ineffective, the permittee
must continue to pay rent and comply with the other terms of the permit.”
25 C.F.R. § 166.707. Plaintiff thus had the right, under the plain terms of the
regulations, to continue his use of range units 6 and 9 while his appeal was pending.
As we have noted, however, the BIA denied plaintiff access to the lands during the
2004 grazing season but thereafter required plaintiff to pay the full year’s grazing
fees for 2004. In so doing, the BIA violated its regulations. The regulations do not
authorize the BIA to deny the use of permitted lands while an appeal ofa cancellation
decision is pending, much less allow the agency to impose grazing fees that do not
correspond to the actual use permitted. In short, the BIA’s demand for payment of
the 2004 grazing fees amounted to an unlawful exaction, i.e., a demand for the
payment of money not authorized by law.

Such a claim is, of course, well within our jurisdiction. This court has long
recognized that where the government collects money pursuant to an erroneous
construction of a statute, a claim for the return of that sum is cognizable as a claim
founded on an act of Congress and, as such, is a claim within the express jurisdiction
of this court. Clapp v. United States, 127 Ct. Cl. 505, 511-12 (1954). The same
result follows in the instant case. This court’s basic jurisdictional statute, 28 U.S.C.
§ 1491, grants the court authority “to render judgment upon any claim against the
United States founded either upon the Constitution, or any Act of Congress or any
regulation of an executive department.” A claim alleging an illegal exaction pursuant
to an erroneous application of a regulation is as much within our jurisdiction as a
claim of illegal exaction founded on an act of Congress. See Aerolineas Argentinas
v. United States, 77 F.3d 1564, 1572-73 (Fed. Cir. 1996). Because the BIA acted
in violation of law in requiring plaintiff's payment of the 2004 grazing fees for range
units 6 and 9, plaintiff is entitled to a refund of that amount.’

 

’ Payment of any judgment is subject to the government’s right of setoff
under 31 U.S.C. § 3728 and must therefore await the outcome of the IBIA’s remand
of November 13, 2008, directing the Regional Director to use actual damages rather

(continued...)

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Having addressed each of plaintiffs various claims, we turn to a final matter:
plaintiff's request that we transfer any claims found to fall outside this court’s
jurisdiction to the United States District Court for the District of South Dakota,
Western Division. Pursuant to 28 U.S.C. § 1631, a court, upon finding that a civil
action (including a petition for review of an administrative action) is beyond its
jurisdiction, “shall, if it is in the interest of justice, transfer such action . . . to any
other such court in which the action . . . could have been brought at the time it was
filed.” The difficulty with plaintiffs request is that the relief he presumably seeks
from the district court—a review of the IBJA’s decision under the standards of the
APA, 5 U.S.C. § 706*—is unavailable to him at present because the IBIA’s decision
is not yet final (damages for overgrazing remain to be determined). Because only
“final agency action” is made subject to judicial review under the APA, 5 U.S.C.
§ 704, a petition for review before the district court would be premature and the
district court would therefore lack subject matter jurisdiction to hear plaintiff s claim.
Veldhoen v. United States Coast Guard, 35 F.3d 222, 225 (Sth Cir. 1994). Since
plaintiff's request for judicial review could not be filed in the district court in the first
instance, neither then may we transfer this action there.

CONCLUSION

For the reasons set forth above, defendant’s motion to dismiss is granted in
part and denied in part. The clerk is directed to enter judgment as follows:

(i) dismissing the first, second, and third counts of the complaint (alleging
various contract-based theories of recovery) for failure to state a claim upon which
relief can be granted;

(ii) refunding plaintiff's payment in the amount of $38,003 for the 2004
grazing season, pursuant to the fourth count of the complaint, subject to the
conditions identified in footnote 7;

(iii) dismissing the fifth count of the complaint (alleging essentially tortious
actions of a BIA employee) for lack of jurisdiction;

 

7(...continued) |
than liquidated damages as the basis for determining whether plaintiff will be subject
to overgrazing penalties. Not until the amount of such penalties has been determined
will the BIA’s ultimate liability to plaintiff, if any, be known.

* The tort claims plaintiff asserts here were also presented in the IBIA
proceedings.

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(iv) dismissing the sixth count of the complaint (alleging overgrazing of
plaintiffs individually owned grazing lands) without prejudice pursuant to plaintiff’ s
December 1, 2009, motion for voluntary dismissal; and

(v) dismissing the seventh and eighth counts of the complaint (challenging
the imposition of grazing penalties and seeking the recovery of attorney’s fees and
costs pursuant to 28 U.S.C. § 2412, respectively) as premature.”

 

° The timing of and procedures applicable to claims for the recovery of
attorney’s fees and costs are set forth in RCFC 54(d).

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